4:12-cr-03008-RGK-CRZ             Doc # 56   Filed: 06/12/12   Page 1 of 2 - Page ID # 135




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                  4:12CR3008
                                             )
             v.                              )
                                             )
LITA CHANHDARA,                              )        MEMORANDUM AND ORDER
                                             )
                     Defendants.             )
                                             )


             The defendant has requested to set a change of plea hearing, and consents to
having the hearing conducted before the undersigned magistrate judge. The motion will be
granted.
      Accordingly,
      IT IS ORDERED that:
      1.     The defendant’s motion to set a change of plea hearing is granted. This case,
             insofar as it concerns this defendant, is removed from the trial docket based
             upon the request of the defendant.

      2.     A hearing on the defendant’s anticipated plea of guilty is scheduled before
             Magistrate Judge Zwart on the 20th day of June, 2012, at the hour of 3:00 p.m.,
             in Courtroom No. 2, United States Courthouse and Federal Building, 100
             Centennial Mall North, Lincoln, Nebraska.

      3.     The defendant, her counsel, and counsel for the government shall appear at this
             hearing.

      4.     On or before the date set for the plea proceeding, counsel for plaintiff and for
             defendant shall provide to the assigned probation officer their respective
             versions of the offense for purposes of preparing the presentence investigation
             report.

      5.     The ends of justice served by granting defendant’s motion to set a change of
             plea hearing outweigh the interests of the public and the defendant in a speedy
             trial, and the additional time arising as a result of the granting of the motion,
4:12-cr-03008-RGK-CRZ     Doc # 56      Filed: 06/12/12    Page 2 of 2 - Page ID # 136




          the time between today’s date and the anticipated plea of guilty, shall be
          deemed excluded in any computation of time under the requirements of the
          Speedy Trial Act, for the reason that defendant’s counsel requires additional
          time to adequately prepare the case, taking into consideration due diligence of
          counsel, the novelty and complexity of the case, and the fact that the failure to
          grant additional time might result in a miscarriage of justice. 18 U.S.C. §
          3161(h)(7).

    6.    Upon defendant’s representation that she intends to plead guilty, her Motion
          for Disclosure of Identity of Informant, (filing no. 28), and her Motion to
          Suppress identification, (filing no. 29), are denied as moot.


    DATED this 12th day of June, 2012.

                                       BY THE COURT:

                                       s/ Cheryl R. Zwart
                                       United States Magistrate Judge




                                          2
